         Case 24-11728-pmm          Doc 12      Filed 05/21/24 Entered 05/22/24 07:34:03                 Desc Main
                                               Document      Page 1 of 1



                                          United States Bankruptcy Court
                                             Eastern District of Pennsylvania
 In re   Philadelphia Orthodontics P.C.                                                Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Philadelphia Orthodontics P.C. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 21, 2024                                     /s/ Paul J. Cordaro
Date                                             Paul J. Cordaro
                                                 Signature of Attorney or Litigant
                                                 Counsel for Philadelphia Orthodontics P.C.
                                                 Campbell & Levine, LLC
                                                 310 Grant Street, Suite 1700
                                                 Pittsburgh, PA 15219
                                                 412-261-0310 Fax:412-261-5066
                                                 pcordaro@camlev.com
